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                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION


 IVONNE MENDOZA,
                                                             CIVIL COMPLAINT
              Plaintiff,

 v.                                                       CASE NO. 3:20-cv-00024

 MIDLAND CREDIT MANAGEMENT, INC.,
                                                        DEMAND FOR JURY TRIAL
              Defendant.


                                           COMPLAINT

         NOW comes IVONNE MENDOZA (“Plaintiff”), by and through her attorneys, Sulaiman

Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of MIDLAND CREDIT

MANAGEMENT, INC. (“Defendant”), as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq., and the Texas Debt Collection Act (“TDCA”) under

Tex. Fin. Code Ann. § 392 et seq., for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction

is conferred upon this Court by 15 U.S.C §1692, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States. Supplemental jurisdiction exists for Plaintiff’s state law claim

pursuant to 28 U.S.C. §1367.




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      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Western District of Texas and a substantial amount of the events and omissions that gave

rise to Plaintiff’s cause of action occurred within the Western District of Texas.

                                                  PARTIES

      4. Plaintiff is a consumer over 18 years-of-age residing in El Paso County, Texas, which is

within the Western District of Texas.

      5. As reflected on its website, Defendant is a self-proclaimed debt collector.1 Defendant is a

corporation organized under the laws of the state of Kansas, with its principal place of business is

located at 3111 Camino Del Rio North, Suite 1300, San Diego, California.

      6. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                                 FACTS SUPPORTING CAUSES OF ACTION

      7. The instant action arises out of Defendant’s attempts to collect upon a defaulted credit card

debt (“subject debt”) that Plaintiff purportedly owed to Credit One Bank, N.A. (“Credit One”).

      8. Plaintiff incurred the subject debt in order to purchase personal and other consumer goods

and/or services.

      9. Around the fall of 2019, Plaintiff began receiving calls to her cellular phone, (915) XXX-

9192, from Defendant.

      10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in -9192. Plaintiff is and always has been financially

responsible for the cellular phone and its services.



1
    https://www.midlandcreditonline.com/who-is-mcm/

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    11. Defendant has used several numbers when placing collection calls to Plaintiff’s cellular

phone, including but not limited to: (858) 251-6649, (800) 305-2252, (623) 223-9852, (480) 448-

3777, (480) 504-6540, (877) 434-3794, (602) 362-4193, (888) 405-9988, (947) 204-5310, (858)

505-1237, and (800) 215-2113.

    12. Upon information and belief, the above-referenced phone numbers are regularly utilized

by Defendant during its debt collection activities.

    13. During answered calls, Plaintiff was subjected to a noticeable pause, having to say “hello”

several times, before being connected to a live representative.

    14. Upon speaking with Defendant, Plaintiff was informed that it is acting as a debt collector

attempting to collect upon the subject debt.

    15. Defendant’s harassing collection campaign caused Plaintiff to demand that Defendant

cease calling her.

    16. Defendant has continued placing collection calls to Plaintiff’s cellular phone through the

filing of the instant action.

    17. Despite Defendant lacking permission to call Plaintiff’s cellular phone, Defendant still

placed not less than 25 phone calls to Plaintiff’s cellular phone.

    18. Moreover, Plaintiff has not received any information and/or correspondence from

Defendant regarding the subject debt since Defendant began its collection campaign.

    19. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

 resulting in expenses.

    20. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

    21. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

 limited to, invasion of privacy, aggravation that accompanies collection telephone calls from debt



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collectors, emotional distress, increased risk of personal injury resulting from the distraction

caused by the never-ending calls, increased usage of her telephone services, loss of cellular phone

capacity, diminished cellular phone functionality, decreased battery life on her cellular phone,

and diminished space for data storage on her cellular phone.

           COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   22. Plaintiff repeats and realleges paragraphs 1 through 21 as though full set forth herein.

   23. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   24. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

uses the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

   25. Defendant is engaged in the business of collecting or attempting to collect, directly or

indirectly, defaulted debts owed or due or asserted to be owed or due to others.

   26. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be due to another for personal, family, or household purposes.

       a. Violations of FDCPA §1692c and §1692d

   27. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring

or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,

abuse, or harass any person at the called number.”

   28. Defendant violated §1692c(a)(1), d, and d(5) when it continuously called Plaintiff after

being notified to stop. Defendant called Plaintiff at least 25 times after she demanded that it stop.

This repeated behavior of systematically calling Plaintiff’s phone in spite of this information was




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harassing and abusive. The frequency and nature of calls shows that Defendant willfully ignored

Plaintiff’s pleas with the goal of annoying and harassing Plaintiff.

   29. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient and harassing to Plaintiff.

         b. Violations of FDCPA § 1692e

   30. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

  31. In addition, this section enumerates specific violations, such as:

           “The use of any false representation or deceptive means to collect or attempt to
           collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
           §1692e(10).

   32. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or

attempt to collect the subject debt. In spite of the fact that Plaintiff demanded that Defendant stop

contacting her, Defendant continued to contact Plaintiff via automated calls. Instead of putting an

end to this harassing behavior, Defendant systematically placed calls to Plaintiff’s cellular phone

in a deceptive attempt to force her to answer its calls and ultimately make a payment. Through its

conduct, Defendant misleadingly represented to Plaintiff that it had the legal ability to contact her

via an automated system when it no longer had consent to do so.

         c. Violations of FDCPA § 1692f

   33. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

   34. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by continuously calling Plaintiff at least 25 times after being notified to stop. Attempting to

coerce Plaintiff into payment by placing voluminous phone calls without her permission is unfair

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and unconscionable behavior. These means employed by Defendant only served to worry and

confuse Plaintiff.

        d. Violations of FDCPA § 1692g

   35. The FDCPA, pursuant to 15 U.S.C. § 1692g(a) requires a debt collector to, “[w]ithin five

days after the initial communication with a consumer in connection with the collection of any debt

. . . send the consumer a written notice containing” several pieces of information, including: “(1)

the amount of the debt; (2) the name [of the original creditor]; (3) a statement [regarding disputing

the debt within 30 days]; (4) a statement [outlining what happens if a consumer disputes a debt];

and (5) a statement that, upon written request . . . the debt collector will provide the consumer with

the name and address of the original creditor . . . .”

   36. Defendant violated § 1692g by failing to provide the written information required within

five days after the respective initial communication with Plaintiff.

   37. As pled in paragraphs 19 through 21, Plaintiff has been harmed and suffered damages as a

result of Defendant’s illegal actions.

   WHEREFORE, Plaintiff, IVONNE MENDOZA, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
      §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3);

   a. Enjoining Defendant from further contacting Plaintiff seeking payment of the subject
      debt; and

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   e. Awarding any other relief as this Honorable Court deems just and appropriate.

               COUNT II – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   38. Plaintiff restates and realleges paragraphs 1 through 37 as though fully set forth herein.

   39. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   40. Defendant is a “[t]hird-party debt collector” as defined by Tex. Fin. Code Ann. §

392.001(7).

   41. The subject debt is a “consumer debt” as defined by Tex. Fin. Code Ann. § 392.001(2) as

it is an obligation, or alleged obligation, arising from a transaction for personal, family, or

household purposes.

           a. Violations of TDCA § 392.302

   42. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,

or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”

   43. Defendant violated the TDCA when it continued to call Plaintiff’s cellular phone at least

25 times after she notified it to stop calling. The repeated contacts were made with the hope that

Plaintiff would succumb to the harassing behavior and ultimately submit a payment. Rather than

understanding Plaintiff’s situation and abiding by her wishes, Defendant continued in its harassing

campaign of phone calls in hopes of extracting payment.

   44. Upon being told to stop calling, Defendant had ample reason to be aware that it should not

continue its harassing calling campaign. Yet, Defendant consciously chose to continue placing

systematic calls to Plaintiff’s cellular phone knowing that its conduct was unwelcome.

           b. Violations of TDCA § 392.304

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   45. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.304(19) prohibits a debt collector from

“using any . . . false representation or deceptive means to collect a debt or obtain information

concerning a consumer.”

   46. Defendant violated the TDCA through the implicit misrepresentations made on phone calls

placed to Plaintiff’s cellular phone. Through its conduct, Defendant misleadingly represented to

Plaintiff that it had the lawful ability to continue contacting her cellular phone using an automated

system absent her consent. Such lawful ability was revoked upon Plaintiff demanding that

Defendant stop calling her cellular phone, illustrating the deceptive nature of Defendant’s conduct.

   WHEREFORE, Plaintiff, IVONNE MENDOZA, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   b. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   c. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1);

   d. Awarding Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2);

   e. Awarding Plaintiff punitive damages, in an amount to be determined at trial, for the
      underlying violations;

   f. Awarding Plaintiff costs and reasonable attorney fees, pursuant to Tex. Fin. Code Ann. §
      392.403(b);

   g. Enjoining Defendant from further contacting Plaintiff seeking payment of the subject
      debt; and

   h. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: January 26, 2020                                Respectfully submitted,

s/ Nathan C. Volheim                                  s/Taxiarchis Hatzidimitriadis
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